Justin O. Burton (6506)
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  IN THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF UTAH

 In re:                                           Case No. 25-20424

 Christopher James Ivester,                       Ch 13

 Debtor.                                          Conf. Hrg.: April 15, 2025 at 2:00 p.m.

                                                  Hon. Kevin R. Anderson


     OBJECTION TO TRUSTEE’S MOTIONS TO DISMISS (DKT NOS. 13, 19, & 20);
      MOTION TO RESCHEDULE MEETING OF CREDITORS, CONFIRMATION
              HEARING AND EXTEND APPLICABLE DEADLINES

        Chistopher James Ivester (“Debtor”), by and through counsel, Rulon T. Burton &
Associates, PC, hereby objects to the Trustee’s Motions to Dismiss (Dkt. Nos. 13, 19, & 20).
        In support thereof, Debtor states the following:
                             Objection to Motion to Dismiss Dkt. No. 13
        Docket No. 13 is the Trustee’s Motion to Dismiss for failure to provide the Trustee with a
profit and loss statement and a business questionnaire. Debtor will continue to work diligently
with Counsel to provide the required documents.
                             Objection to Motion to Dismiss Dkt. No. 19
        Docket No. 19 is the Trustee’s Motion to Dismiss for failure to tender the initial plan
payment. Debtor will tender the initial plan payment prior to the hearing set for confirmation.
                             Objection to Motion to Dismiss Dkt. No. 20
        Docket No. 20 is the Trustee’s Motion to Dismiss alleging unreasonable delay and denial
of confirmation as the reasons for dismissal. The Trustee is not recommending confirmation due
to Debtor’s failure to: provide property tax assessment, 2024 tax returns (complete both personal
and business), bank statements (business case December - February all accounts). Debtor will
continue to work diligently with Counsel to gather the required documents and provide the
documents to the Trustee.
         Motion to Reschedule Meeting of Creditors and to Extend Applicable Deadlines
        Due to the Debtor’s failure to timely provide the business questionnaire and profit and loss
statements, the Trustee did not conduct the Debtor’s Meeting of Creditors. Therefore, Debtor
requests that the Court reschedule the Meeting of Creditors. The confirmation hearing will also
need to be rescheduled. Additionally, Debtor requests that the Court extend the deadline to object
to claimed exemptions to date 30 days after the rescheduled Meeting of Creditors and extend the
deadline to object to discharge to a date 60 days after the rescheduled Meeting of Creditors.


       WHEREFORE, Debtor respectfully requests that the Court:
       1. Deny the Trustee’s Motion to Dismiss Docket No. 13;
       2. Deny the Trustee’s Motion to Dismiss Docket No. 19;
       3. Deny the Trustee’s Motion to Dismiss Docket No. 20;
       4. Reschedule the Meeting of Creditors;
       5. Reschedule the hearing on confirmation of the Debtor’s plan;
       6. Extend the deadline to object to claimed exemptions to a date 30 days after the re-
          scheduled Meeting of Creditors;
       7. Extend the deadline to object to discharge to a date 60 days after the re-scheduled
          Meeting of Creditors.


       Dated: March 17, 2025

                                                      ____________/s/______________
                                                      Justin O. Burton
                                                      Attorney for Debtor
                                                      Rulon T. Burton and Associates


                                    MAILING CERTIFICATE
        Under penalty of perjury, I hereby certify that on March 17, 2025, I caused to be delivered
electronically via ECF and/or mailed postage prepaid a true and correct copy of the
OBJECTION TO TRUSTEE’S MOTIONS TO DISMISS (DKT NOS. 13, 19, & 20);
MOTION TO RESCHEDULE MEETING OF CREDITORS, CONFIRMATION
HEARING AND EXTEND APPLICABLE DEADLINES to the following: Rulon T. Burton &
Associates via ECF; Lon A. Jenkins, Chapter 13Trustee, via ECF;


                                                      ____________/s/______________
                                                       Mailing Clerk
